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       Katherine Von Drachenberg, Kat Von D, Inc.,
   7   and High Voltage Tattoo, Inc.
   8
   9                            UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11                                 WESTERN DIVISION
  12
       JEFFREY B. SEDLIK, an individual;       Case No. 2:21-cv-01102-DSF-MRWx
  13
                   Plaintiff,                  Before the Hon. Dale S. Fischer,
  14                                           U.S. District Judge
             vs.
  15
       KATHERINE VON                           JOINT STIPULATION
  16   DRACHENBERG (a.k.a. “KAT                REGARDING BRIEFING
       VON D”), an individual; KAT             SCHEDULE FOR SUMMARY
  17   VON D., INC., a California              JUDGMENT MOTIONS
       corporation; HIGH VOLTAGE
  18   TATTOO, INC., a California
       corporation; and DOES 1 through 10,     Action filed:   February 7, 2021
  19   inclusive,                              Trial:          July 26, 2022
  20               Defendants.
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   1         Plaintiff Jeffrey Sedlik (“Plaintiff”), on one hand, and Defendants Katherine
   2   Von Drachenberg, Kat Von D., Inc., and High Voltage Tattoo, Inc. (together,
   3   “Defendants”), on the other hand, by and through their counsel of record, enter into
   4   this Joint Stipulation Regarding Briefing Schedule for Summary Judgment Motions
   5   with respect to the following recitals:
   6         WHEREAS, this action was filed on February 7, 2021;
   7         WHEREAS, this Court’s “Order Re Jury Trial” (Dkt. 19) set April 18, 2022
   8   as the motion hearing cut-off;
   9         WHEREAS, the parties’ counsel have conferred and have agreed, subject to
  10   this Court’s approval, to the briefing schedule proposed herein;
  11         NOW, THEREFORE, THROUGH COUNSEL OF RECORD, AND
  12   SUBJECT TO APPROVAL OF THE COURT, THE PARTIES STIPULATE AS
  13   FOLLOWS:
  14         1.     By no later than Wednesday, March 9, 2022, counsel for the parties
  15   shall meet-and-confer pursuant to Local Rule 7-3 regarding any motion for
  16   summary judgment that any party intends to file.
  17         2.     By no later than Wednesday, March 16, 2022, any party wishing to file
  18   a motion for summary judgment shall file the moving papers in support thereof,
  19   with the hearing noticed for Monday, April 18, 2022, at 1:30 p.m.
  20         3.     By no later than Monday, March 28, 2022, any party opposing a
  21   previously-filed summary judgment motion shall file its opposition papers.
  22         4.     By no later than Monday, April 4, 2022, the parties shall file any reply
  23   papers in support of any previously-filed motions for summary judgment.
  24         THROUGH COUNSEL OF RECORD, IT IS SO STIPULATED.
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   1   Dated: February 16, 2022            Respectfully submitted,
   2                                       GRODSKY, OLECKI & PURITSKY LLP
                                            Allen B. Grodsky
   3                                        John J. Metzidis
   4
                                           By:     /s/ John J. Metzidis
   5                                                   John J. Metzidis
   6                                       Attorneys for Defendants Katherine Von
                                           Drachenberg, Kat Von D, Inc., and High Voltage
   7                                       Tattoo, Inc.
   8   Dated: February 16, 2022            SEDLIKGROUP, P.C.
                                            Gary S. Sedlik
   9
  10                                       By:     /s/ Gary S. Sedlik (w/ permission)
                                                       Gary S. Sedlik
  11
                                           Attorneys for Plaintiff Jeffrey B. Sedlik
  12
  13
  14                     COMPLIANCE WITH LOCAL RULE 5-4.3.4
  15         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I attest that all other signatories
  16   listed, and on whose behalf this filing is submitted, concur in this filing’s content
  17   and have authorized this filing.
  18
       Dated: February 16, 2022            By:     /s/ John J. Metzidis
  19                                                   John J. Metzidis
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